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  IT IS ORDERED as set forth below:



   Date: August 29, 2022
                                                          _________________________________

                                                                   Barbara Ellis-Monro
                                                              U.S. Bankruptcy Court Judge

 ________________________________________________________________



                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION


IN RE:                                          :          CASE NO. 18-69497-BEM
                                                :
SANDRA BROOKS,                                  :          CHAPTER 7
                                                :
         Debtor.                                :
                                                :


   ORDER APPROVING TRUSTEE’S FINAL REPORT AND APPLICATIONS FOR
 COMPENSATION AND REIMBURSEMENT OF EXPENSES OF THE TRUSTEE AND
                 PROFESSIONALS OF THE TRUSTEE

         On July 20, 2022, the Chapter 7 Trustee (“Trustee”) for the bankruptcy estate of Sandra

Brooks, filed applications for payment of compensation in the amount of $7,244.10 and expenses

in the amount of $144.29 to the Chapter 7 Trustee [Doc. No. 52-1], compensation in the amount

of $10,206.50 and expenses in the amount of $64.92 to Arnall Golden Gregory LLP, the Chapter

7 Trustee’s counsel [Doc. No. 52-2], and compensation in the amount of $17,040.00 and
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expenses in the amount of $418.91 to Hays Financial Consulting, LLC, the Chapter 7 Trustee’s

accountants [Doc. No. 52-3] (collectively, the “Fee Applications”).

       Also on July 20, 2022, Trustee filed his Trustee’s Final Report (TFR) [Doc. No. 52] (the

“Trustee’s Final Report”) in which he proposed to make certain distributions to creditors,

including the above mentioned professionals.

       And, again on July 20, 2022, Trustee filed two notices [Doc. Nos. 53 and 54]

(collectively, the “Notices”) regarding the Fee Applications and Trustee’s Final Report, in

accordance with the Second Amended and Restated General Order No. 24-2018 and setting the

Fee Applications and Trustee’s Final Report for hearing on August 30, 2022 (the “Hearing”).

       Trustee certifies that he served the Notices on all creditors and parties in interest entitled

to notice. [Doc. No. 55].

       No objection to the relief requested in the Fee Applications or Trustee’s Final Report was

filed prior to the objection deadline provided in the Notices and pursuant to the Second Amended

and Restated General Order No. 24-2018.

       The Court having considered the Fee Applications and Trustee’s Final Report along with

all other matters of record, including the lack of objection to the relief requested in the Fee

Applications and Trustee’s Final Report, and, based on the forgoing, finding that no further

notice or hearing is necessary; and, the Court having found that good cause exists to grant the

relief requested in the Fee Applications and Trustee’s Final Report, it is hereby

        ORDERED that the Fee Applications and Trustee’s Final Report are APPROVED and

this approval is made final. It is further

       ORDERED that the fees and expenses requested are allowed as compensation and

reimbursement of expenses as follows:
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                Applicant                 Docket         Fees       Expenses          Total
                                           No.
 S. Gregory Hays, Chapter 7 Trustee        52-1        $7,244.10      $144.29          $7,388.39
 Arnall Golden Gregory LLP,                52-2       $10,206.50       $64.92         $10,271.42
 attorneys for Chapter 7 Trustee
 Hays Financial Consulting, LLC,           52-3       $17,040.00      $418.91         $17,458.91
 accountants for Chapter 7 Trustee

It is further

        ORDERED that Trustee is authorized and directed to pay said compensation and

reimbursement of expenses approved herein based on available funds and as expressly set forth

in Trustee’s Final Report.

                                     [END OF DOCUMENT]

Order prepared and presented by:


By:    /s/ S. Gregory Hays
        S. Gregory Hays
        Chapter 7 Trustee
        ghays@haysconsulting.net
Hays Financial Consulting, LLC
Suite 555
2964 Peachtree Road
Atlanta, GA 30305 / (404) 926-0060

Identification of parties to be served:

Office of the U.S. Trustee, 362 Richard B. Russell Federal Building, 75 Ted Turner Drive, SW,
Atlanta, GA 30303

Sandra Brooks, 500 Thrasher Street, #4115, Norcross, GA 30071

Peter B. Bricks, Peter B. Bricks, P.C., Suite 206, 333 Sandy Springs Circle, NE, Atlanta, GA 30328

S. Gregory Hays, Hays Financial Consulting, LLC, 2964 Peachtree Rd, NW, Suite 555, Atlanta,
GA 30305

Arnall Golden Gregory LLP, 171 17th Street, NW, Suite 2100, Atlanta, GA 30363
